Case 2:20-cv-02701-DSF-E Document 10 Filed 06/30/20 Page 1 of 1 Page ID #:37




                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA

 CLIFTON WALKER                       CASE NO.
                                      2:20−cv−02701−DSF−E
             Plaintiff(s),
       v.                             Order to Show Cause re
 MARIA PALOMO, et al.                 Dismissal for Lack of
                                      Prosecution
            Defendant(s).




       The Federal Rules of Civil Procedure require a plaintiff to serve process
   on the defendants within 90 days of the filing of the complaint. Fed. R. Civ.
   P. 4(m). The Court may extend this deadline for good cause. Id. More than
   90 days have passed since the complaint in this case was filed, and Plaintiff
   has not filed a proof of service for at least one defendant. Therefore,
   Plaintiff is ordered to show cause no later than July 14, 2020 why the
   unserved defendant(s) should not be dismissed for failure to prosecute. The
   filing of proof(s) of service showing that the relevant defendant(s) was/were
   served within the 90-day period or a showing of good cause for extending
   the service period constitute adequate responses to this order.

      IT IS SO ORDERED.

 Date: June 30, 2020                       /s/ Dale S. Fischer
                                          Dale S. Fischer
                                          United States District Judge
